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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                  AT COVINGTON

 CIVIL ACTION NO. 16-49-DLB-CJS

 DOLORES JANE BODEN, et al.                                                    PLAINTIFFS


 v.                                        ORDER


 ST. ELIZABETH MEDICAL CENTER, INC., et al.                                 DEFENDANTS

                                      ** ** ** ** **
 I.     Introduction

        This matter is before the Court on Defendants’ Motion for Partial Summary

 Judgment. (Doc. # 96). In their Motion, Defendants argue that four of Plaintiff’s seven

 claims should be dismissed. Id. However, whether Defendants are entitled to judgment

 as a matter of law on these claims is entirely dependent on whether the Employee

 Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq. (“ERISA”) applies to

 this lawsuit. Accordingly, Defendants’ Motion, which asks the Court to assume for one

 motion that ERISA applies and dispose of several of Plaintiffs’ claims, essentially requests

 an advisory opinion which the Court will not provide. For the reasons stated herein,

 Defendants’ Motion is denied without prejudice with the right to refile at a later, more

 appropriate time.

 II.    Factual and Procedural Background

        On March 17, 2016, Plaintiffs Dolores Boden, Jeanine Godsey, and Patricia

 Schaeffer filed this putative class action, alleging a variety of claims under ERISA. (Doc.

 # 1). Each of the Plaintiffs is a beneficiary or participant in the St. Elizabeth Medical




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 Center Employees’ Pension Plan (the “Plan”), a defined-benefit pension plan funded by

 St. Elizabeth Healthcare. (Doc. # 74 at 1-2). Approximately one year into the litigation,

 the Court stayed this action pending a decision from the United States Supreme Court

 regarding ERISA’s exemption for church plans. See Advocate Health Care Network v.

 Stapleton, 137 S. Ct. 1652 (2017). (Doc. # 60). Following the Supreme Court’s decision,

 and with the permission of the Court (Doc. # 73), Plaintiffs filed an Amended Complaint

 on August 1, 2017. (Doc. # 74).

        The first of Plaintiff’s claims seeks a declaratory judgment, asking this Court to

 declare that the Plan is subject to ERISA’s requirements, and not an exempt church plan,

 as defined in ERISA § 3(33). (Doc. # 74 at 20). Defendants, on the other hand, have

 maintained that the Plan is a church plan, and thus not subject to the litany of

 requirements laid out in ERISA. (Doc. # 76 at 1). In conjunction with their claim for

 declaratory relief, Plaintiffs allege four violations of ERISA—a violation of required

 reporting and disclosure provisions; a failure to provide the minimum required funding; a

 failure to establish the Plan pursuant to a written instrument; and breach of fiduciary

 duty—as claims two through five, respectfully. (Doc. # 74 at 21-26). In addition, Plaintiffs

 alternatively allege two state-law claims—for breach of fiduciary duty and for breach of

 contract—as claims six and seven, respectfully. Id. at 26-28.

 III.   Defendants’ Motion for Partial Summary Judgment

        On April 3, 2018, Defendants filed a Motion for Partial Summary Judgment, arguing

 that because the Plan is now fully funded—meaning, the ERISA minimum-funding

 standards have been met—they are entitled to judgment as a matter of law on Plaintiffs’

 ERISA underfunding claim, both the ERISA and the state-law breach-of-fiduciary-duty




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 claims, and the state-law breach-of-contract claim. (Docs. # 96 and 96-1). In their quest

 for judgment as a matter of law, Defendants concede—for purposes of this Motion only—

 that “it can be assumed the Plan is subject to ERISA’s minimum funding requirements.”

 (Doc. # 96-1 at 7).

        Defendants’ only-for-this-motion concession places the Court in a difficult position.

 If the Court were to grant Defendants’ Motion with respect to either of the ERISA claims,

 and then after briefing determine that the Plan is indeed a church plan—exempt from

 ERISA’s requirements—then the Court’s efforts would have been for naught. And by the

 same token, the Court cannot grant Defendants’ Motion and dispose of Plaintiffs’ state-

 law claims without first determining whether these claims are preempted by ERISA. See

 ERISA § 514(a); 29 U.S.C. 1144(a). If the Court determines that Plaintiffs’ state-law

 claims are preempted and dismisses them, and then after further briefing determines that

 ERISA is not applicable because the Plan is a church plan, it will have unnecessarily

 complicated this matter by prematurely dismissing two potentially viable causes of action.

        Defendants’ attempt to sidestep the crucial issue in this case—whether the Plan is

 a church plan—places the Court in the untenable position of being asked to render an

 advisory opinion on a hypothetical determination of critical facts. The Court declines to

 do so. Without a decision on whether the Plan is a church plan, the Court cannot resolve

 Defendants’ Motion, and so the Motion must be denied as premature.

 IV.    Conclusion

        Accordingly, for the reasons set forth herein,

        IT IS ORDERED as follows:

        (1)    Defendants Motion for Partial Summary Judgment (Doc. # 96) is hereby




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 denied without prejudice with the right to refile; and

        (2)    Within twenty (20) days of this Order, the parties shall file a joint status

 report, informing the Court of any necessary and incomplete discovery and proposing a

 briefing schedule for the adjudication of the discrete issue of whether the Plan is a church

 plan and therefore not subject to ERISA.

        This 14th day of August, 2018.




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